     Case 1:04-cr-00189-CG-C                 Doc# 66        Filed 05/20/05        Page 1 of 6         PageID# 233

AO 245B (Rev. 12/03) Judgment in a Criminal Case: Sheet 1



                      UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ALABAMA
         UNITED STATES OF AMERICA                             JUDGMENT IN A CRIMINAL CASE
                    V.                                        (For Offenses Committed On or After November 1, 1987)


         JOHN LOVE, aka John Ryan Love                        CASE NUMBER: 1:04-CR-00189-002
                                                              USM NUMBER: 08826-003

THE DEFENDANT:                                                Domingo Soto, Esquire
                                                              Defendant's Attorney
(X)      pleaded guilty to count 1 of the Indictment on 11/16/2004 .
()       pleaded nolo contendere to count(s) which was accepted by the court.
()       was found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):
                                                                            Date Offense                              Count
Title & Section         Nature of Offense                                   Concluded                                 No.(s)
21 USC § 846        Conspiracy to possess with intent to                   09/30/2004                                  1
                    distribute crack.


        The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence
is imposed pursuant to the Sentencing Reform Act of 1984.


()       The defendant has been found not guilty on count(s)          .
(X)      Count 4      is dismissed on the motion of the United States.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the
court and United States attorney of any material change in the defendant's economic circumstances.

                                                                  May 18, 2005
                                                                  Date of Imposition of Judgment

                                                                  /s/ Callie V. S. Granade
                                                                  CHIEF UNITED STATES DISTRICT JUDGE

                                                                  May 20, 2005
                                                                  Date
         Case 1:04-cr-00189-CG-C                    Doc# 66       Filed 05/20/05     Page 2 of 6     PageID# 234

                                                                                                            Judgment 2

    AO 245B (Rev. 12/03) Judgment in a Criminal Case: Sheet 2 - Imprisonment

    Defendant: JOHN LOVE, aka John Ryan Love
    Case Number: 1:04-CR-00189-002

                                                        IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
    imprisoned for a total term of TWO HUNDRED TEN (210) MONTHS as to Count 1 of the Indictment.

              ()       The court makes the following recommendations to the Bureau of Prisons:



    ()       The defendant is remanded to the custody of the United States Marshal.


    ()       The defendant shall surrender to the United States Marshal for this district:
              ()       at        a.m./p.m. on           .
              ()       as notified by the United States Marshal.


    (X)      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
             Prisons:
              ()       before 2 p.m. on             .
              (X)       as notified by the United States Marshal.
              ()        as notified by the Probation or Pretrial Services Office.

                                                            RETURN

I have executed this judgment as follows:




Defendant delivered on                         to                                    at
with a certified copy of this judgment.

                                                                                    UNITED STATES MARSHAL


                                                                               By
                                                                                          Deputy U.S. Marshal
     Case 1:04-cr-00189-CG-C                   Doc# 66         Filed 05/20/05    Page 3 of 6        PageID# 235

                                                                                                            Judgment 3
AO 245B (Rev. 12/03) Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: JOHN LOVE, aka John Ryan Love
Case Number: 1:04-CR-00189-002
                                             SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 5 years .

() Special Conditions:

         For offenses committed on or after September 13, 1994: The defendant shall refrain from
         any unlawful use of a controlled substance. The defendant shall submit to one drug test within
         15 days of release from imprisonment and at least two periodic drug tests thereafter, as
         directed by the probation officer.

()       The above drug testing condition is suspended based on the court’s determination that the defendant poses
         a low risk of future substance abuse. (Check, if applicable)


()       The defendant shall register with the state sex offender registration agency in the state where the
         defendant resides, works, or is a student, as directed by the probation officer. (Check, if applicable)


()       The defendant shall participate in an approved program for domestic violence. (Check, if applicable)


(X)      The defendant shall not possess a firearm, destructive device, or any other dangerous
         weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the
defendant pay any such fine or restitution that remains unpaid at the commencement of the term of supervised
release in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this
judgment. The defendant shall report to the probation office in the district to which the defendant is released
within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shall not illegally possess a controlled substance.
The defendant shall comply with the standard conditions that have been adopted by this court
(Probation Form 7a).
The defendant shall also comply with the additional conditions on the attached page (if applicable).



                                      See Page 4 for the
                           "STANDARD CONDITIONS OF SUPERVISION"
     Case 1:04-cr-00189-CG-C                   Doc# 66         Filed 05/20/05    Page 4 of 6         PageID# 236

                                                                                                              Judgment 4
AO 245B (Rev. 12/03) Judgment in a Criminal Case: Sheet 3 - Supervised Release
Defendant: JOHN LOVE, aka John Ryan Love
Case Number: 1:04-CR-00189-002
                                             SUPERVISED RELEASE

                             STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shall report to the probation officer and shall submit a truthful and complete written report
        within the first five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the
        probation officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling,
        training, or other acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or
        employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or
        administer any controlled substance or any paraphernalia related to any controlled substances, except as
        prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
        administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any
        person convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall
         permit confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a
        law enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law
        enforcement agency without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned
        by the defendant's criminal record or personal history or characteristics, and shall permit the probation
        officer to make such notifications and to confirm the defendant's compliance with such notification
        requirement;

14) the defendant shall cooperate, as directed by the probation officer, in the collection of DNA, if applicable,
        under the provisions of 18 U.S.C. §§ 3563(a)(9) and 3583(d) for those defendants convicted of qualifying
        offenses.
     Case 1:04-cr-00189-CG-C                   Doc# 66         Filed 05/20/05           Page 5 of 6      PageID# 237

                                                                                                                   Judgment 5
AO 245B (Rev. 12/03) Judgment in a Criminal Case: Sheet 5, Part A - Criminal Monetary Penalties
Defendant: JOHN LOVE, aka John Ryan Love
Case Number: 1:04-CR-00189-002
                           CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with the schedule
of payments set forth on Sheet 5, Part B.

                                      Assessment                            Fine                      Restitution
          Totals:                     $100.00

()        The determination of restitution is deferred until    . An Amended Judgment in a Criminal Case
          (AO 245C) will be entered after such a determination.

If the defendant makes a partial payment, each payee shall receive an approximately proportional payment
unless specified otherwise in the priority order or percentage payment column below. (or see attached)
However, pursuant to 18 U.S.C. § 3644(i), all non-federal victims must be paid in full prior to the United
States receiving payment.

()        The defendant shall make restitution to the following payees in the amounts listed below.

Name(s) and                                    *Total                       Amount of                        Priority Order
Address(es) of Payee(s)                        Amount of Loss               Restitution Ordered           or % of Payment




          TOTALS:                              $                            $

()        If applicable, restitution amount ordered pursuant to plea agreement. $
()        The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or
restitution is paid in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f).
All of the payment options on Sheet 5, Part B may be subject to penalties for default, pursuant to 18 U.S.C. §
3612(g).


()        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     ()       The interest requirement is waived for the   () fine and/or () restitution.
     ()       The interest requirement for the       () fine and/or () restitution is modified as follows:

     * Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United
     States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
     Case 1:04-cr-00189-CG-C                   Doc# 66         Filed 05/20/05           Page 6 of 6           PageID# 238

                                                                                                                        Judgment 6

AO 245B (Rev. 12/03) Judgment in a Criminal Case: Sheet 5, Part B - Schedule of Payments

Defendant: JOHN LOVE, aka John Ryan Love
Case Number: 1:04-CR-00189-002
                                          SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as
follows:

    A         (X) Lump sum payment of $ 100.00               due immediately, balance due
              () not later than         , or () in accordance with () C, () D, () E or () F below; or
    B         () Payment to begin immediately (may be combined with () C, () D, () E or () F below); or
    C         () Payment in       (e.g., equal, weekly, monthly, quarterly) installments of $ over a period
              of      (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this
              judgment; or
    D         () Payment in         (e.g., equal, weekly, monthly, quarterly) installments of $       over a period
              of      (e.g., months or years), to commence            (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or
    E         () Payment during the term of supervised release will commence within        (e.g., 30 or 60 days)
              after release from imprisonment. The court will set the payment plan based on an assessment of the
              defendant's ability to ay at that time; or
    F         () Special instructions regarding the payment of criminal monetary penalties:

    Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a
    period of imprisonment payment of criminal monetary penalties shall be due during the period of
    imprisonment. All criminal monetary penalty payments, except those payments made through the Federal
    Bureau of Prisons' Inmate Financial Responsibility Program, are to be made to the clerk of court, unless
    otherwise directed by the court, the probation officer, or the United States attorney.

    The defendant will receive credit for all payments previously made toward any criminal monetary penalties
    imposed.


    ()        Joint and Several:

    ()        The defendant shall pay the cost of prosecution.

    ()        The defendant shall pay the following court cost(s):

    ()        The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment; (2) restitution principal; (3) restitution interest, (4) fine
principal; (5) community restitution, (6) fine interest (7) penalties, and (8) costs, including cost of prosecution and court
costs.
